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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.:    2:16cv14413

              TAVARES DOCHER, by and through
              JANICE DOCHER-NEELEY, his mother
              and legal guardian,
                                 Plaintiff,
              vs.
              CHRISTOPHER NEWMAN,
              individually; CLAYTON MANGRUM,
              individually; CALVIN ROBINSON,
              individually; WADE COURTEMANCHE,
              individually; KEN J. MASCARA, as
              SHERIFF of ST. LUCIE COUNTY,
              Florida; JOSE ROSARIO,
              individually; and the ST. LUCIE
              COUNTY FIRE DISTRICT, an
              independent special district,

                             Defendants.
              ________________________________/


                                       DEPOSITION OF
                                       CLAY MANGRUM

                                        VOLUME 1
                                   Pages 1 through 90

                                 Wednesday, May 31, 2017
                                 12:00 p.m. - 1:53 p.m.

                                   Phipps Reporting
                           1680 Southwest Bayshore Boulevard
                            Port St. Lucie, Florida 34984

                             Stenographically Reported By:
                           Patricia A. Lanosa, RPR, FPR, CSR


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         1       APPEARANCES:                                               1    The following proceedings began at 12:00 p.m.:
         2
                 On behalf of Plaintiff:                                    2          THE COURT REPORTER: Would you raise your
         3                                                                  3       right hand, please?
                    SEARCY, DENNEY, SCAROLA
         4          BARNHART & SHIPLEY, PA                                  4          Do you solemnly swear that the testimony
                    2139 Palm Beach Lakes Boulevard                         5       you shall give today will be the truth, the
         5          West Palm Beach, Florida 33402-3626
         6          (561)686-6300                                           6       whole truth, and nothing but the truth?
                    BY: ADAM S. HECHT, ESQUIRE                              7          THE WITNESS: Yes, ma'am, I do.
         7          ash@searcylaw.com
         8                                                                  8                 CLAY MANGRUM,
                 On behalf of Defendant:                                    9    having been first duly sworn or affirmed, was
         9
                    PURDY, JOLLY, GIUFFREDA & BARRANCO, PA                 10    examined and testified as follows:
        10          2455 East Sunrise Boulevard, Suite 1216                11               DIRECT EXAMINATION
                    Fort Lauderdale, Florida 33304
        11          (954)462-3200                                          12     BY MR. HECHT:
                    BY: SUMMER M. BARRANCO, ESQUIRE                        13       Q. Please state your name.
        12          summer@purdylaw.com
        13                                                                 14       A. Clay Mangrum.
                 On behalf of St. Lucie County Fire District:              15          MR. HECHT: And if we can go off the
        14
                    WILSON, ELSER, MOSKOWITZ,                              16       record for this.
        15          EDELMAN & DICKER, LLP (Appearing via Phone)            17          (Discussion off the record.)
                    111 North Orange Avenue, Suite 1200
        16          Orlando, Florida 32801                                 18     BY MR. HECHT:
                    (407)203-7592                                          19
        17          BY: JULIE TYK, ESQUIRE
                                                                                    Q. Where are you currently employed?
                    julie.tyk@wilsonelser.com                              20       A. St. Lucie County Sheriff's Office.
        18                                                                 21
        19                                                                          Q. How long have you been employed there?
        20                                                                 22       A. I'm on my 17th year.
        21
        22
                                                                           23       Q. Currently what is your position?
        23                                                                 24       A. I'm currently assigned to the criminal
        24
        25
                                                                           25    investigation division as a detective.


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             1                                                              1        Q. How long have you been a detective in the
             2                             INDEX                            2    criminal investigations unit?
             3                                                              3        A. A little over two years.
             4                                                              4        Q. In May of 2014, what was your position
             5       Examination                  Page                      5    with the sheriff's office?
             6              VOLUME 1 (Pages 1 - 90)
                                                                            6        A. I was assigned to uniform patrol.
             7       Direct      By Mr. Hecht         4
                     Cross       By Ms. Barranco       85                   7        Q. Is that road patrol?
             8                                                              8        A. Yes.
                     Certificate of Oath               87                   9        Q. During the 17 years that you've been with
             9       Certificate of Reporter             88                10    the St. Lucie County Sheriff's Office, can you tell
                     Read and Sign Letter to Witness         89            11    me what positions you've held with that sheriff's
        10           Errata Sheet (forwarded upon execution)    90         12    office?
        11                                                                 13        A. Yes, sir. I was assigned to detention as
        12
                                                                           14    a corrections deputy, uniform patrol, school
        13
        14                                                                 15    resource, special investigations unit, court
        15                                                                 16    security, and as a detective.
        16                                                                 17        Q. How many years have you actually spent out
        17                                                                 18    on the road?
        18                                                                 19        A. Only a little over three. As far as
        19                                                                 20    uniform patrol?
        20                                                                 21        Q. Yes, sir.
        21                                                                 22        A. Maybe eight or nine of those years.
        22
        23                                                                 23        Q. How many years were you in corrections?
        24                                                                 24        A. A little over three years.
        25                                                                 25           (Recess 12:07 p.m. until 12:08 p.m.)


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         1      BY MR. HECHT:                                      1    firefighter?
         2        Q. Did you work in the jail?                     2       A. I worked as an EMT with Lifeline Medical.
         3        A. Yes.                                          3       Q. And that again was a private ambulance
         4        Q. And school resource, did you work at a        4    company.
         5    school?                                              5       A. A private ambulance transport company,
         6        A. Yes, I did. And it was for one school         6    yes, sir.
         7    year, roughly.                                       7       Q. And how long did you work for Lifeline
         8        Q. And court security, how long did you do       8    Medical for?
         9    that for?                                            9       A. Roughly a year.
        10        A. It was approximately 11 months.              10       Q. What years did you work as an EMT?
        11        Q. And what about special investigations?       11       A. It would have been late 1999 to late 2000.
        12        A. It was either -- I would say it was          12       Q. So did you work as an EMT for
        13    between 16 and 18 months. So roughly a year and a   13    approximately 10 years?
        14    half.                                               14       A. No, no, no. 1999, late in that year,
        15        Q. And prior to working at the St. Lucie        15    until late in the year 2000.
        16    County Sheriff's Office, have you worked at any     16       Q. I understand. Approximately one year.
        17    other law enforcement agencies?                     17       A. Yes.
        18        A. No, sir.                                     18       Q. I thought you said late 2000s.
        19        Q. Where did you go to high school?             19       A. I apologize.
        20        A. Lincoln Park Academy.                        20       Q. Were you ever a paramedic?
        21        Q. What did you do after high school?           21       A. No.
        22        A. I worked briefly at, what used to be         22       Q. And is it after working as an EMT for
        23    Discount Auto Parts. I worked on a freight dock     23    Lifeline that you joined the St. Lucie County
        24    with R&L Carriers. I went through EMT school,       24    Sheriff's Office?
        25    firefighter academy. I got certified as a           25       A. I transferred from Lifeline to St. Lucie


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         1    firefighter. I decided I wanted to go into law       1    County Sheriff's Office.
         2    enforcement. Prior to the fire academy, I worked     2       Q. Why did you no longer have an interest in
         3    for about a year with Lifeline Medical; it's a       3    being an EMT?
         4    private ambulance transport. And then I got hired    4       A. I was more interested in the firefighting
         5    on to the sheriff's office from there.               5    aspect of it. And at that time when I was looking
         6        Q. How long did you work at Discount Auto        6    into a job -- the St. Lucie County Fire Department,
         7    Parts for?                                           7    I believe they had a clause where you sign an
         8        A. It was right around a year.                   8    agreement to become a paramedic within three years,
         9        Q. How old were you when you worked there?       9    I believe it was, and I had no interest in becoming
        10        A. Maybe 17 or 18.                              10    a paramedic.
        11        Q. And when you worked at the docks, how old    11       Q. And I take it you had interest in law
        12    were you?                                           12    enforcement?
        13        A. Between 18 and 19.                           13       A. Yes, I did.
        14        Q. How long did you work on the docks for?      14       Q. And did you go to a police academy?
        15        A. It was roughly a year.                       15       A. I went to corrections academy with the
        16        Q. And where did you go to EMT firefighter      16    sheriff's office, and I joined the sheriff's office
        17    school?                                             17    with the assumption to go into the law enforcement
        18        A. Back then it was Indian River Community      18    side of it. And when I was able to afford it, I
        19    College.                                            19    went to crossover academy, which is the remainder to
        20        Q. How long does the EMT firefighter school     20    become law enforcement certified.
        21    last for?                                           21       Q. Where did you go for the crossover
        22        A. The EMT portion, I think is in the           22    academy?
        23    ballpark of 300 hours. And the fire academy was     23       A. Crossover academy was at Indian River
        24    around 4-, 500 hours.                               24    State College.
        25        Q. Did you actually ever work as an EMT or a    25       Q. How long did that crossover program last


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         1    for?                                                    1    of force?
         2        A. I don't remember the hours on that. It           2        A. Yes, we do.
         3    would be on my certification, though.                   3        Q. When was the last time you underwent a
         4        Q. Did you go through the basic law                 4    course on use of force?
         5    enforcement training at Indian River State College?     5        A. We started in-service this year and
         6        A. All of my law enforcement certification          6    covered some use of force, and also last year during
         7    for the full certificate was through Indian River       7    in-service was my last full year of in-service
         8    State College.                                          8    training.
         9        Q. When you joined the St. Lucie County             9        Q. And when you say that "you started," what
        10    Sheriff's Office, did you go through additional        10    do you mean by that?
        11    training?                                              11        A. Our training, our in-service training
        12        A. Yes.                                            12    which is annual, is broken up into blocks. And
        13        Q. Did you go through use-of-force training        13    being we're just under halfway through the year,
        14    when you joined this sheriff's office?                 14    I've only been able to attend -- I believe it was
        15        A. Yes.                                            15    two blocks this year so far.
        16        Q. And were you trained on how to identify         16        Q. Prior to May of 2014, do you know when the
        17    the signs and symptoms of excited delirium?            17    last use-of-force training session you attended?
        18        A. I had training on that in the past, yes.        18        A. I couldn't give you a specific date or
        19        Q. How many hours would you say you've             19    month.
        20    undergone as it relates to your training for excited   20        Q. Are you familiar with deadly force
        21    delirium?                                              21    techniques?
        22        A. I couldn't give you a specific number on        22        A. Yes, I am.
        23    hours.                                                 23        Q. Have you ever heard of a thumb strike?
        24        Q. During your training and experience as a        24        A. A thumb strike?
        25    law enforcement officer, have you come in contact      25        Q. Yes. Have you ever heard of that?


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         1    with people suffering from excited delirium?            1        A. I've heard of it. I've never heard of it
         2         A. I couldn't specifically tell you that I've      2    specifically. I've heard of it through, like,
         3    witnessed an incident. And yes, that was for sure       3    martial arts, or something like that, but not like
         4    excited delirium.                                       4    off the top of my head.
         5         Q. What are the signs and symptoms of excited      5        Q. Has the St. Lucie County Sheriff's Office
         6    delirium, based on your training and experience?        6    ever trained you to utilize a thumb strike if you
         7         A. From what I understand to be is irrational      7    were involved in a struggle?
         8    behavior; elevated sweating; heart rate; no response    8        A. We've -- as far as a thumb -- not to my
         9    to any sort of pain stimulus. And the best way to       9    recollection a thumb strike.
        10    describe it, to me would be almost like an             10        Q. What about applying pressure to a nerve
        11    accelerated engine, referring to the, like the         11    mass in the neck using your thumb?
        12    body's response.                                       12        A. I've -- we've been trained with, as far
        13         Q. Were you trained on use of force when you      13    as, like, brachial stun.
        14    joined the St. Lucie County Sheriff's Office?          14        Q. What is that?
        15         A. Prior to or when I joined?                     15        A. There's a nerve along the side of the neck
        16         Q. When you joined.                               16    that it can be utilized in certain situations to
        17         A. Yes.                                           17    gain compliance.
        18         Q. During the 17 years that you spent at the      18        Q. And are you trained to use your thumb to
        19    St. Lucie County Sheriff's Office, are there           19    apply pressure to that area of the neck to gain
        20    official policies regarding the use of force?          20    compliance of someone?
        21         A. We have policies on use of force, yes,         21        A. Through my training I don't recall a
        22    sir.                                                   22    specific training on that. No, I do not.
        23         Q. During the 17 years that you worked at St.     23        Q. How is it you know what that is?
        24    Lucie County Sheriff's Office, do you undergo          24        A. A thumb strike?
        25    continuing education courses or training on the use    25        Q. No. You just said a "brachial" --


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         1        A. Oh, a brachial stun, we learned and --           1      A. We've trained with pressure on nerves. I
         2    utilized and learned throughout our defensive tactic    2   recall the -- there's nerve compliance with your
         3    training.                                               3   arms. I don't specifically recall the neck. But I
         4        Q. Say it to me again.                              4   do recall that we have had training on, as far as
         5        A. Brachial stun.                                   5   joint manipulations and compliance, with nerves.
         6        Q. Brachial stun. Just so I'm clear: The            6    BY MR. HECHT:
         7    brachial stun technique is when you use your thumb      7      Q. My specific question is: During the 17
         8    to apply pressure to a nerve in the neck to gain        8   years you've been employed by the St. Lucie County
         9    compliance?                                             9   Sheriff's Office -- and you've been trained on joint
        10        A. No, sir. A brachial stun is normally            10   manipulation -- have you ever been trained to
        11    taught with the inside of your arm, so that it's not   11   utilize your thumb to apply pressure to a nerve on
        12    a threat strike, like a punch or something like        12   someone's neck?
        13    that.                                                  13      A. I don't specifically recall that, no.
        14        Q. So tell me what a brachial stun is.             14      Q. And you were not aware of a deadly force
        15        A. In certain situations where you're -- you       15   technique known as a thumb strike, correct?
        16    have an actively combative subject, you could          16          MS. BARRANCO: Object to the form. Go
        17    basically use the inside of your forearm. And it's     17      ahead.
        18    like a contact with the side of the neck, and with     18      A. Not that I could recall.
        19    the nerve that's on the side of the neck it usually    19    BY MR. HECHT:
        20    causes -- your desired effect would be almost like a   20      Q. Have you ever, during a struggle with an
        21    stun effect to gain compliance and control over a      21   individual, used your thumb to apply pressure to the
        22    person.                                                22   nerve mass in someone's neck to gain compliance over
        23        Q. So is it correct that the St. Lucie County
                                                                     23   them?
        24    Sheriff's Office has trained you to utilize a
                                                                     24      A. My thumb in the neck?
        25    brachial stun to gain compliance of an individual?
                                                                     25      Q. Yes.


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         1          MS. BARRANCO: Object to the form. Go              1        A. No.
         2      ahead.                                                2        Q. Why not?
         3      A. In -- in a situation where you would need          3        A. Normally it's just never been a thought
         4   one, yes. You have actively combative, someone           4    process to go to some sort of neck pressure to gain
         5   fighting you.                                            5    compliance. And it would also have to be -- in my
         6       Q. And if someone is actively combative, the         6    opinion, it would have to be in a position where you
         7   brachial stun technique is when you use your forearm     7    could utilize that, any kind of pressure point like
         8   to strike a nerve on someone's neck, correct?            8    that, safely.
         9          MS. BARRANCO: Object to form. Go ahead.           9        Q. Based on your training and experience,
        10      A. On the side. Not the front of the neck;           10    would applying pressure to an individual's nerve
        11   the side, towards the back. Where -- basically          11    mass in their neck be considered to be deadly force?
        12   where you're -- in better terms, your trap would        12            MS. BARRANCO: Object to the form. Go
        13   meet your backside of your neck.                        13        ahead.
        14          MS. BARRANCO: Can I interrupt? You said,         14        A. Applying pressure, I wouldn't see it as
        15      "trap."                                              15    deadly force, no.
        16      A. Trapezius. The trap muscle.                       16      BY MR. HECHT:
        17          MR. HECHT: I understood that one.                17        Q. Based on your training and experience
        18          MS. BARRANCO: Thank you.                         18    applying pressure to the nerve mass in someone's
        19     BY MR. HECHT:                                         19    neck, could that lead to great bodily harm?
        20       Q. Is it correct that the St. Lucie County          20            MS. BARRANCO: Object to the form. Go
        21   Sheriff's Office has not trained you to utilize your    21        ahead.
        22   thumb to apply neck -- to apply pressure on a nerve     22        A. Applying pressure to the side of the neck
        23   mass on the neck?                                       23    where the nerve is, no.
        24          MS. BARRANCO: Object to the form. Go             24      BY MR. HECHT:
        25      ahead.                                               25        Q. Would you agree with me that based upon


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         1    your training and experience as a law enforcement       1    cause great bodily harm?
         2    officer, that an elbow strike to a person's temple      2           MS. BARRANCO: Object to the form. Go
         3    is classified as deadly force?                          3        ahead.
         4           MS. BARRANCO: Object to the form. Go             4        A. If a forcible elbow strike directly to the
         5        ahead.                                              5    bridge of the nose could cause some pretty bad --
         6        A. An elbow strike directly, intentionally to       6    could cause bodily harm? To what extent, I'm not
         7    the temple?                                             7    sure.
         8      BY MR. HECHT:                                         8      BY MR. HECHT:
         9        Q. Yes, sir.                                        9        Q. Based upon your training and experience,
        10        A. I wouldn't consider that -- I would have        10    would you agree with me that striking a person with
        11    to consider the amount of force used if there is       11    your elbow on the bridge of their nose is classified
        12    any -- but just a basic elbow strike to the temple,    12    as using deadly force?
        13    it would not constitute deadly force to me, no.        13           MS. BARRANCO: Object to the form. Go
        14        Q. Would you agree with me that -- strike          14        ahead.
        15    that.                                                  15        A. It once again would come down to the
        16           Based upon your training and experience as      16    amount of force used and the intent of the strike.
        17    a law enforcement officer, would an elbow strike to    17      BY MR. HECHT:
        18    a person's temple likely cause great bodily harm?      18        Q. Based upon your training and experience as
        19           MS. BARRANCO: Objection to form.                19    a law enforcement officer, would you agree with me
        20        A. Once again, it would come down to the           20    that striking a person with your elbow on their
        21    amount of force used with the strike, the intent of    21    throat is likely to cause great bodily harm?
        22    the strike, and what -- what area the strike was       22           MS. BARRANCO: Object to the form.
        23    aimed at.                                              23        A. Directly on the top of the throat in the
        24      BY MR. HECHT:                                        24    front of the neck, that could, yes.
        25        Q. Were you ever trained either by the             25


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         1    St. Lucie County Sheriff's Office, or during your       1     BY MR. HECHT:
         2    time at the police academy, on what techniques are      2        Q. Would you agree with me that based upon
         3    classified as deadly force?                             3    your training and experience, that striking a person
         4        A. Were we ever trained? Yes.                       4    with your elbow on their throat is classified as
         5        Q. Would you agree with me that based upon          5    using deadly force?
         6    your training and experience as a law enforcement       6           MS. BARRANCO: Object to the form. Go
         7    officer, that striking a person on the side of the      7        ahead.
         8    jaw is likely to cause great bodily harm?               8        A. An intentional direct strike to the throat
         9           MS. BARRANCO: Object to the form.                9    could be classified as deadly force, yes.
        10        A. With enough force, it could cause bodily        10     BY MR. HECHT:
        11    harm, yes.                                             11        Q. Would you agree with me that based upon
        12      BY MR. HECHT:                                        12    your training and experience as a law enforcement
        13        Q. Would you agree with me that based upon         13    officer, that striking a person with your elbow in
        14    your training and experience as a law enforcement      14    the back of their head is likely to cause great
        15    officer, that striking someone on the side of their    15    bodily harm?
        16    jaw is classified as using deadly force?               16           MS. BARRANCO: Object to the form.
        17           MS. BARRANCO: Object to the form. Go            17        A. It would come down to the intent, the
        18        ahead.                                             18    amount of force used, and the purpose.
        19        A. A general strike to the side of the jaw,        19     BY MR. HECHT:
        20    no, I don't know it would constitute deadly force on   20        Q. Would you agree with me that based upon
        21    that.                                                  21    your training and experience as a law enforcement
        22      BY MR. HECHT:                                        22    officer, that striking a person with your elbow on
        23        Q. Based upon your training and experience as      23    the side of their head is likely to cause great
        24    a law enforcement officer, is striking a person with   24    bodily harm?
        25    your elbow on the bridge of their nose likely to       25           MS. BARRANCO: Object to the form. Go


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         1        ahead.                                             1        Q. In regards to the interaction that you had
         2        A. It would depend on the amount of force,         2    with Tavares Docher, at any point on May 11, 2014,
         3    intent, and direction of where they're intending to    3    did you ever make a determination whether Tavares
         4    strike.                                                4    Docher was experiencing excited delirium?
         5      BY MR. HECHT:                                        5        A. With that incident on that day, I couldn't
         6        Q. Would you agree with me that based upon         6    tell you specifically if the term "excited delirium"
         7    your training and experience, that striking someone    7    crossed my mind. But as far as concern of medical
         8    with your elbow on the side of their head is           8    attention, yes.
         9    classified as using deadly force?                      9        Q. And when you first came in contact with
        10            MS. BARRANCO: Object to the form. Go          10    Tavares Docher, at any point did you request a
        11        ahead.                                            11    medical professional to respond to the scene?
        12        A. Circumstantial -- it would be the intent,      12        A. During our struggle with Mr. Docher, yes.
        13    the amount of force used, and the purpose.            13        Q. What about before the struggle?
        14      BY MR. HECHT:                                       14        A. No.
        15        Q. What are the signs and symptoms of someone     15        Q. Why not?
        16    experiencing excited delirium?                        16        A. He wasn't exhibiting any type of behavior
        17        A. Based on my knowledge, erratic behavior.       17    at that point that would lead me to believe excited
        18    Not making -- verbally not making sense. Unaware of   18    delirium or anything that required immediate medical
        19    their surroundings. Excessive sweating. Not           19    attention.
        20    responding to their normal stimulus around them,      20        Q. So is it your testimony today that
        21    what would be considered a normal response. If        21    on May 11, 2014 you made a determination that
        22    you're close enough, elevated heart rate.             22    medical assistance was not necessary until after the
        23        Q. Is someone who is exhibiting the signs and     23    struggle?
        24    symptoms of excited delirium -- strike that.          24            MS. BARRANCO: Object to the form. Go
        25            Is it considered a medical emergency --       25        ahead.


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         1   strike that.                                            1        A. Immediate emergency medical response,
         2          Is it considered a medical emergency if          2    there was nothing -- there was no signs or symptoms.
         3   someone is exhibiting the signs and symptoms of         3    He didn't request any medical attention. And we
         4   excited delirium?                                       4    were still trying to determine the nature of his
         5       A. Yes.                                             5    behavior at that point.
         6       Q. And would you agree with me that as a law        6      BY MR. HECHT:
         7   enforcement officer if you came in contact with         7        Q. Did you ever write a report in this case?
         8   someone who you believed to be exhibiting the signs     8        A. No, I did not. Not that I recall.
         9   and symptoms of an excited delirium, that you would     9        Q. Did you ever arrest Tavares Docher for any
        10   contact a medical professional?                        10    crime on May 11, 2014?
        11          MS. BARRANCO: Object to the form.               11        A. Did I arrest him? No.
        12       A. Yes, I would. But also it would come down       12        Q. Is it your testimony today that you never
        13   to scene safety for treatment as well.                 13    evaluated Tavares Docher for excited delirium
        14    BY MR. HECHT:                                         14    on May 11, 2014?
        15       Q. Who would you contact if you were to            15           MS. BARRANCO: Object to the form. Go
        16   interact with someone who you believed was having an   16        ahead.
        17   episode of excited delirium?                           17        A. I can express that -- or note that he has
        18          MS. BARRANCO: Object to the form. Go            18    possibly -- you know, I could relay what signs and
        19       ahead.                                             19    symptoms he has of any kind of condition, but I
        20       A. Well, we communicate by radio. So it            20    couldn't make that judgment call, or that
        21   would be -- for me it would be additional units, and   21    professional medical diagnosis that he had excited
        22   for the emergency medical personnel to begin           22    delirium. I had concerns during the struggle once
        23   staging -- to be en route and staging for that         23    his behavior became more erratic and not responding
        24   purpose.                                               24    to normal stimulus around him.
        25    BY MR. HECHT:                                         25      BY MR. HECHT:


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         1       Q. Is it correct to say that prior to the            1    telling me I believe to be false to further amplify
         2    struggle you did not believe Tavares Docher to be       2    his behavior. I wanted to bring him down and keep
         3    experiencing excited delirium?                          3    him focused on our interactions. Because while he
         4       A. No, I did not.                                    4    was sitting down, he would immediately try to stand
         5       Q. Looking back, do you believe Tavares              5    up, and then he'd be like, Oh, I'll just remain
         6    Docher was experiencing excited delirium prior to       6    seated.
         7    the struggle?                                           7            He was pointing by the bushes by Prima
         8           MS. BARRANCO: Object to the form. Go             8    Vista. Saying people were chasing him, referred to
         9       ahead.                                               9    them as Arabs. I would just to try -- because I'm
        10       A. Looking back, no, I do not.                      10    still trying to validate any of this and get as much
        11      BY MR. HECHT:                                        11    information to process it as possible. To see if we
        12       Q. Tell me what you recall about your               12    do have somebody legitimately being held against
        13    interaction with Tavares Docher on May 11, 2014.       13    their will, and that we need response there, where
        14       A. The initial contact with him, he was in --       14    it's at. He couldn't give us a location initially.
        15    I guess his body behavior was more animated than       15            And during this time he's still -- we're
        16    that of a normal person. He came toward my patrol      16    trying to keep -- we're trying to get his -- just to
        17    vehicle when he saw it. He was carrying a              17    where we could see he's not a flight risk or a
        18    screwdriver in his hand, in the same position that     18    danger to himself, because he's acting in a manner
        19    somebody would carry a knife, which is basically the   19    along with what he's saying: He's being watched.
        20    metal end forward and with a fist-grip around the      20    He's displaying behavior giving verbal indications
        21    handle.                                                21    that the people are chasing him are there now.
        22           He made -- he responded to me directing         22            And my concern at that point is that if he
        23    him to stand at the front of my patrol vehicle. He     23    flees, if he tries to run in the traffic in Prima
        24    was talking very fast and giving a lot of              24    Vista, he could be struck by a vehicle. That's a
        25    information without really having any questions        25    very busy intersection. I have an open place of


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         1    asked at that point. And he's -- he was physically      1    business that's directly -- almost basically behind
         2    shifty. I don't want to say jumpy, like jumping up      2    us and to the side of us. There is other citizens
         3    and down. A lot of body movement, pacing in a small     3    there. So we're trying to maintain the scene safety
         4    area.                                                   4    at that point as well.
         5            At that point my biggest concern was the        5           We could smell some alcohol. Asked him
         6    fact that he had a screwdriver. I didn't want him       6    about that. He said he had Natty Ice, which I'd
         7    to -- I didn't know at this point if he wanted to       7    known to be Natural Ice-type of beer. He told us he
         8    harm himself or others. He was compliant to             8    was a sex offender.
         9    direction at that point. I asked him to drop the        9           While he's giving us this information,
        10    screwdriver. He did. I asked him to sit on the         10    we're trying to confirm his identity. And my
        11    curb so that we could continue a dialogue. There       11    trainee was working on that, Deputy Robinson. And
        12    was a lot of talk of -- he was giving a lot of         12    we did confirm he was a registered sex offender.
        13    information; I do recall it was in reference to        13    He's giving us a lot of information about being
        14    somebody being held against their will. A headless     14    there for a court case, trying to see if he's
        15    body found in St. Lucie County, I believe it was.      15    fleeing from warrants, or if he has any kind of
        16    And a homicide that occurred in Broward County.        16    warrants -- any bit of information we could get on
        17            We were trying to still just get basic         17    him to help us understand what's going on now.
        18    information from him. He told us as far as why he      18        Q. All right. Let me ask you some questions
        19    was there. He couldn't tell us the location of the     19    up until this point.
        20    house where somebody was being held against his        20           You pulled up in your vehicle with Deputy
        21    will. He gave us this information and said he was      21    Robinson, correct?
        22    in St. Lucie County for -- this is a lot of -- there   22        A. Yes.
        23    is a lot of dialogue going on during this where --     23        Q. And he was your trainee?
        24    with him in his state of mind, I didn't want to        24        A. Yes.
        25    disagree with him or make him believe that what he's   25        Q. What was your title in regards to him


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         1    being your trainee?                                     1        A. We stopped -- I couldn't tell you exactly
         2        A. Field training officer.                          2    feet -- but we stopped a decent distance away from
         3        Q. So you were his field training officer.          3    the door. First of all, I didn't want to put my
         4        A. Yes.                                             4    patrol car right at the doors of the business. And
         5        Q. And what does that mean?                         5    second of all, I have to assess -- because he
         6        A. I'm -- we have phases of what's called           6    immediately when -- he saw the patrol vehicle, he
         7    field training. And during that time, during that       7    immediately was -- it wasn't like a slow walk; it
         8    phase, I was his field training officer for that        8    was like, Oh, there they are; here I go.
         9    block of time.                                          9        Q. And when you pulled up, prior to you
        10        Q. On May 11, 2014, was Deputy Robinson in         10    exiting your vehicle, did you see the screwdriver in
        11    Phase 2 of his training?                               11    his hand?
        12        A. I believe it was Phase 2.                       12        A. I saw something in his hand. And as he
        13        Q. And what does Phase 2 entail?                   13    got closer, I realized it was a screwdriver.
        14        A. Phase 2 initially, as far as that time          14        Q. How close to your vehicle was it that you
        15    when I was in the field training program, Phase 2      15    realized it was a screwdriver?
        16    was more aware -- it's basically you want to try to    16        A. It was -- it was probably in between --
        17    do things, or determine if it could be done half and   17    right around the halfway mark, between where he was
        18    half. Allow them, the trainee to take some             18    to my vehicle. He had a clenched fist. That's what
        19    initiative and see how they react on calls. So         19    I was looking at: Why his fist was clenched, and
        20    you're kind of half helping, half evaluating.          20    what he was holding?
        21        Q. Does a trainee have arrest powers?              21        Q. And at that point in time did you exit
        22        A. Yes.                                            22    your vehicle and tell him to drop what he was
        23        Q. And they wear the same gun belt that any        23    holding?
        24    other deputy would wear.                               24        A. I got out of my vehicle quickly so that --
        25        A. Yes.                                            25    you don't want, in any kind of situation, to be


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         1         Q. Are there any powers or authorities that a      1    sitting in your vehicle when somebody is
         2    trainee does not have that a regular deputy sheriff     2    approaching. It's not what I consider officer
         3    would have had?                                         3    safety. So I got out quickly so that I could start
         4         A. Well, they -- it's not necessarily as far       4    engaging in verbal interaction with him walking up
         5    as powers. They can't submit reports without it         5    to us.
         6    being reviewed by the field training officer prior      6        Q. Did he continue to approach you, or did
         7    to.                                                     7    you meet him in the middle?
         8         Q. So the two of you pull up. And where is         8        A. He met -- we met towards the right -- near
         9    it when you drive into the CVS parking lot that you     9    the front of my patrol vehicle.
        10    first see Tavares Docher?                              10        Q. And he was still holding the screwdriver?
        11         A. As we're pulling -- we had already been        11        A. Initially, yes. I told him to drop it and
        12    given a clothing description. As we're pulling --      12    kind of brushed it out of his hand. He was
        13    it's kind of a -- because it's not a straight on,      13    compliant at that point as far as the verbal
        14    the business; it's kind of turned to face almost       14    instruction.
        15    like it's pointing into the corner of the              15        Q. At any point in time when you saw the
        16    intersection. And we pulled in -- right as we're       16    screwdriver prior to him dropping it, were you in
        17    turning around to come around to the front of the      17    fear for your life?
        18    building, I saw him standing under the --              18        A. It was -- I was in fear of being stabbed
        19         Q. Entrance?                                      19    or struck with it, yes.
        20         A. Yes. Basically there is the little cover.      20        Q. At any point did you take out your gun and
        21    He was standing under there within close proximity     21    point it at him?
        22    of the doors.                                          22        A. No.
        23         Q. And when you pulled up in your vehicle,        23        Q. Well, if you felt that you may be in
        24    approximately how many feet was your vehicle from      24    danger because of the screwdriver, aren't you
        25    where Tavares was standing?                            25    trained to use some sort of offensive maneuver?


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        1           MS. BARRANCO: Object to the form. Go             1        Q. And when you realized that he was holding
        2        ahead.                                              2    a screwdriver and you exited your vehicle prior to
        3        A. If he held it at a threatening manner or         3    you telling him to drop the screwdriver, did you
        4    was coming, and it's obvious he's coming to stab me,    4    still consider him a threat?
        5    then I would draw my gun, or I would meet that          5        A. I considered it a possibility of a threat,
        6    threat with the proper force. And a stabbing I          6    yes. There is potential for danger.
        7    would definitely draw my gun, because it could be       7        Q. And is it your testimony that the way in
        8    potentially fatal.                                      8    which he was holding the screwdriver was a crime?
        9           At that point it was -- once -- because          9            MS. BARRANCO: Object to the form.
       10    the first thing I addressed was the threat. And I      10        A. No, I wouldn't call it black-and-white a
       11    said, Go ahead and drop what you got in your hand.     11    crime.
       12    I didn't want to draw -- because once he dropped it,   12      BY MR. HECHT:
       13    I didn't want to draw attention back to that           13        Q. I just recall you moments ago saying, As
       14    screwdriver. Why were you carrying a screwdriver?      14    he approached you with the screwdriver, you could
       15    Because he immediately started, basically loudly       15    classify that as an assault.
       16    stating his needs and why. And it was just a bunch     16            MS. BARRANCO: Object to the form. Go
       17    of things at once. So realizing that we have a         17        ahead.
       18    potentially emotionally unstable person, I didn't      18        A. If the remaining -- it could have been at
       19    want to draw focus back to the screwdriver for him     19    that point; I'm still formulating why. But if he
       20    to pick it up, or realize that he was possibly a       20    came up and he's still holding it, and I say, Drop
       21    threat to law enforcement, because then it presents    21    the screwdriver, and he says, No, and continues to
       22    safety factors for not only us but for him as well.    22    come up, then the danger has just increased. And
       23      BY MR. HECHT:                                        23    now he's becoming -- but that didn't happen.
       24        Q. Is it illegal to walk with a screwdriver        24    Because once I said, Drop what's in your hand, he
       25    in your hand?                                          25    let it go. And my goal now is to pull his focus


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        1        A. Generally, to walk with a screwdriver in         1    away from that. He was no longer a physical threat
        2    your hand, no, it's not.                                2    to me with the screwdriver.
        3        Q. Was Tavares Docher committing a crime as         3      BY MR. HECHT:
        4    he approached your vehicle holding a screwdriver?       4        Q. So at no point in time prior to you
        5        A. I didn't consider it a crime. It could           5    telling Tavares to drop the screwdriver was he
        6    have been construed as -- it depends on -- but once     6    assaulting you?
        7    he made it to my -- it could have been construed as     7        A. No. If I considered it assault at that
        8    assault. He's not holding it like he's going to         8    point, I would have arrested him at that point.
        9    take out a headlight. He's holding it with a            9        Q. So he was not committing a crime, correct?
       10    clenched-tight fist, in the same manner you would      10        A. No.
       11    hold a knife. But once he became compliant and         11           MS. BARRANCO: Object to the form.
       12    dropped it, it was no longer a factor. At that         12        A. At that point he didn't commit a crime
       13    point I had him safely away from the screwdriver.      13    that I was going to arrest him for. I basically
       14    And I was -- my goal was to keep his focus to, that    14    dispelled any type of assault threat at that point.
       15    he never -- I didn't want him focusing on the          15    When he complied: Drop the screwdriver.
       16    screwdriver in any way. When Deputy Newman             16           Now, I could have revisited it later if I
       17    approached, he saw the screwdriver and brushed it      17    found -- there's -- it could go several ways at that
       18    further away so it was out of play at that point,      18    point. I don't want to speculate. Yes, it could
       19    basically.                                             19    have still been a factor through further
       20        Q. So is it your testimony that he -- as he        20    investigation to be used as a weapon against someone
       21    was approaching your vehicle with the screwdriver      21    else.
       22    while you were inside your vehicle, you considered     22      BY MR. HECHT:
       23    him a threat?                                          23        Q. But that didn't happen?
       24        A. I didn't know at that point what his            24        A. No. Nor did he ever take a screwdriver
       25    intent was. So yes, I did.                             25    again. So it was no longer a factor at that point.


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        1       Q. So after he dropped the screwdriver, is it       1     BY MR. HECHT:
        2   correct that you and Deputy Robinson stood at the       2       Q. And at that point in time, was Tavares
        3   front of your vehicle and spoke to him?                 3   Docher under arrest for anything?
        4       A. I don't -- I was at the front of my              4       A. At the initial contact, no.
        5   vehicle. I remember I was near the push bar of my       5       Q. When you, Deputy Newman, and Deputy
        6   car. I don't recall exactly where Deputy Robinson       6   Robinson were positioning yourselves around him, was
        7   was, because he did step away; because dispatch, if     7   he free to leave at that point in time?
        8   I remember correctly, had additional information to     8       A. No.
        9   give us. And he was handling the radio traffic,         9       Q. Why not?
       10   which is the talk.                                     10       A. He was -- he's displaying -- his behavior
       11       Q. When you were speaking with Tavares Docher      11   is considered erratic. We don't know the level of
       12   at the front of your vehicle, would you classify his   12   intoxication he has. We're trying to -- he called
       13   demeanor as emotionally unstable?                      13   us for potentially serious offenses of somebody
       14          MS. BARRANCO: Object to the form. Go            14   being detained. He's talking now about a headless
       15       ahead.                                             15   body. He's -- during this conversation he's not
       16       A. Emotionally unstable, you could say it was      16   making sense. We don't know if he's a threat to
       17   emotionally unstable at that point. If it's through    17   others. We can't -- you can't just turn around and
       18   the alcohol, any type of emotional behavioral or       18   walk away from that; we have a liability at that
       19   mental disability, at that point I don't know. But,    19   point.
       20   yes, I mean you could say it was considered            20       Q. Based on everything you just said, you
       21   emotionally unstable, yes.                             21   continued talking to him, correct?
       22     BY MR. HECHT:                                        22       A. Yes.
       23       Q. And how long after you were speaking with       23       Q. And based on your investigation, what did
       24   Tavares Docher at the front of your vehicle did it     24   you find?
       25   take for Deputy Newman to arrive?                      25       A. Well, during this -- during the time, with


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        1       A. I couldn't tell you time-wise, but to the        1   the continual, you know, just go ahead -- basically
        2    point where -- from the time he dropped the            2   I don't remember exactly the words -- but initially
        3    screwdriver, it wasn't long after that, that Deputy    3   I wanted him to sit on the curb so we could -- he's
        4    Newman further brushed the screwdriver away so it's    4   not a flight risk or a danger to himself. He
        5    no longer in play unless he ran towards it or          5   already displayed shifty body movements, standing up
        6    something like that.                                   6   continuously, and pointing at the bushes. At that
        7       Q. Once Deputy Newman arrived, were you,            7   point -- during the ongoing course of this, and him
        8    Deputy Robinson, and Deputy Newman, all three          8   not -- we're in a public parking lot; it's already
        9    surrounding Tavares Docher?                            9   caused some disturbance to the business that we
       10       A. Surrounding him, no. Positioning in --          10   could see where onlookers, people walking around us,
       11    more so, if you have some -- someone that's showing   11   were taking up half a parking lot. At one point we
       12    some sort of mental instability or intoxication and   12   -- during the continuum of this he was placed in
       13    not completely calming down like a normal person      13   hand restraints. Handcuffs.
       14    would when you're trying to understand them, you      14       Q. Based on the investigation that you,
       15    would want to put yourself in a position so that      15   Deputy Newman, and Deputy Robinson engaged in, did
       16    they're no longer -- if they do flee, you could get   16   you make a determination prior to Tavares being
       17    them under control so they don't hurt themselves or   17   placed in handcuffs if he was a threat to others?
       18    others.                                               18       A. At that point we were -- it was more along
       19       Q. So explain to me how you, Deputy Robinson,      19   the lines -- basically it was disorderly
       20    and Deputy Newman were standing or positioning        20   intoxication. We had attempted to bring back some
       21    yourselves around Tavares Docher.                     21   sort of peace and normalcy to CVS. He's admitted to
       22            MS. BARRANCO: Object to the form.             22   drinking. He's displaying signs at the onset that
       23       A. I don't remember exactly who was standing       23   an intoxicated person would display.
       24    where. We weren't all three huddled up together,      24          Once the handcuffs were on him, we
       25    basically.                                            25   continued dialogue with him, and that's when his


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        1   statements became a little bit more erratic and         1     BY MR. HECHT:
        2   unintelligible to some point and not normal.            2       Q. So Tavares was not a threat to himself or
        3       Q. Okay. Prior to Tavares Docher being              3   others prior to you placing him in handcuffs,
        4   placed in handcuffs, my question is: During the         4   correct?
        5   investigation when the three of you were positioning    5           MS. BARRANCO: Object to the form. Go
        6   yourselves around Tavares, did you determine if         6       ahead.
        7   Tavares was a threat to others?                         7       A. As far as that being the initial, He's a
        8          MS. BARRANCO: Object to the form. Go             8   threat to himself and others; let's put handcuffs on
        9       ahead.                                              9   him, no.
       10       A. If he fled on foot, yes. Or if he -- we         10     BY MR. HECHT:
       11   -- he -- with his -- with his -- at that point what    11       Q. And after you and Deputy Newman continued
       12   we believed his level of intoxication or his under     12   speaking with him, there was a determination made to
       13   the influence of -- because we had never even gotten   13   arrest him, correct?
       14   to ask him as far as drug use, if he takes             14           MS. BARRANCO: Object to the form. Go
       15   medications. Yes, at that point he could have been     15       ahead.
       16   a threat to others. Even at the form of just, you      16       A. There was a -- he was detained at that
       17   know, running into traffic and getting hit by a car.   17   point -- further detained at that point with
       18     BY MR. HECHT:                                        18   handcuffs. And we were going with -- at that point
       19       Q. So my question is very specific. I don't        19   it started out -- the initial reason for handcuffs
       20   want to know if he could have been, or if it was       20   was an arrest, yes.
       21   possible that he was a threat to others. My            21     BY MR. HECHT:
       22   question specifically is: During the investigation     22       Q. And who was it that placed the handcuffs
       23   when you, Deputy Robinson, and Deputy Newman were      23   on Tavares Docher?
       24   positioning yourselves around Tavares, prior to him    24       A. I believe it was Newman.
       25   being placed in handcuffs, did you make a              25       Q. And did you discuss with Deputy Newman


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        1   determination that Tavares Docher was a threat to       1    what it was that Tavares Docher would be arrested
        2   other people?                                           2    for?
        3          MS. BARRANCO: Object to the form.                3        A. No, I did not. I don't recall
        4      A. It wasn't considered -- like it wasn't            4    specifically having, like, a sidebar with him or
        5   like he is a direct threat to other people. There       5    anything on that, no.
        6   is multiple factors that came into play.                6        Q. What was Tavares Docher at that point
        7     BY MR. HECHT:                                         7    being arrested for?
        8       Q. Prior to Tavares Docher being placed in          8        A. Based on my observations from what I saw,
        9   handcuffs, did you make a determination during your     9    disorderly intoxication.
       10   investigation as to whether Tavares Docher was a       10        Q. And tell me what are the elements to
       11   threat to himself?                                     11    arrest someone for disorderly intoxication?
       12      A. There was the possibility -- the potential       12        A. Under the influence of alcohol, behavior,
       13   for him to be a threat to himself, yes, and to         13    disrupting normal faculties of society or business,
       14   others.                                                14    or place of business, or the general public.
       15       Q. Again, I understand there was the               15        Q. Now, you mentioned the CVS parking lot was
       16   potential. But certainly he wasn't placed in           16    a public parking lot, correct?
       17   handcuffs because he was a potential threat to         17        A. Well, it's open to the public.
       18   himself and others, correct?                           18        Q. Is it a public parking lot or a private
       19          MS. BARRANCO: Object to the form.               19    parking lot?
       20      A. As far as -- there's -- as far as being,         20        A. That would be through their -- as far as
       21   the reason being, Hey, he's a threat to himself and    21    -- how CVS -- it's private through CVS I would
       22   others, those would be more along the line of a        22    imagine, but it's open to the public. There is no
       23   Baker Act at that point, based on behavior. But as     23    gated access or anything like that.
       24   far as we're there to investigate the assault where    24        Q. Did you witness Tavares Docher, prior to
       25   he's the suspect, no.                                  25    placing him in handcuffs, commit a crime?


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        1        A. Did I witness him prior to placing him in        1        Q. And Tavares Docher was then put into the
        2    handcuffs? As far as, like, on my initial -- I          2    back of Deputy Newman's vehicle?
        3    mean, I witnessed your -- I don't -- where are you,     3        A. The back door was open on the passenger
        4    as far as prior to the actual handcuffs being placed    4    side. It was open; I believe it was Newman that
        5    on him?                                                 5    opened it. Asked him to sit down. Sometimes
        6        Q. Well, you told me he was arrested for            6    there's different ways you could ask him to step in
        7    disorderly intoxication, correct?                       7    the vehicle. Some people it's easier to have them
        8        A. Yes.                                             8    sit down and put their legs forward. We were still
        9        Q. So is that the crime that he was being           9    having a dialogue, so he sat back -- he sat with his
       10    arrested for?                                          10    butt going into the car.
       11        A. I witnessed him display criteria that           11            (Discussion off the record.)
       12    meets the probable cause for disorderly                12      BY MR. HECHT:
       13    intoxication.                                          13        Q. Tell me what happened after Tavares Docher
       14        Q. That's what I want to ask you about.            14    was placed into the back of the vehicle.
       15            Tell me what it is that you observed that      15        A. There was a -- he still appeared to be
       16    allowed you to arrest Tavares Docher for disorderly    16    just normal, the normal dialogue that we had with
       17    intoxication.                                          17    him. He was told that -- it was something along the
       18            MS. BARRANCO: Object to the form. Go           18    lines, Okay, we're going to head out. And go ahead
       19        ahead.                                             19    and place your feet inside the vehicle. At that
       20        A. Is -- he's -- I mean, his behavior, his         20    point there wasn't an immediate response. So I
       21    voice was very loud. He's drawing out the process      21    believe it was said again. And he just looked down;
       22    with law enforcement being there; it disrupted the     22    his head was moving, and then he just -- he did --
       23    facility of CVS. It disrupted their normal             23    it was like a leap out of the -- like a very
       24    faculties of business.                                 24    forceful frontward motion out of the back of the
       25      BY MR. HECHT:                                        25    patrol car.


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        1        Q. After placing Tavares Docher in handcuffs,       1         Q. Where did he run towards?
        2    where was Tavares Docher going to be taken to?          2         A. It wasn't initially a run. His body came
        3        A. Initially when he was placed in handcuffs,       3    upward and I saw his knee -- it looked like his knee
        4    to jail. For an arrest, you're going to take him to     4    that came up high with him. And from where I was --
        5    the county jail. And that's based on my visual          5    it looked like it struck Newman or Newman brought
        6    determination. There was no -- like I said, there       6    his hands up to block it. He tried to go forward
        7    were no specific sidebars like, Hey, where are you      7    away from the car. But the car is sideways. He's
        8    going to take him or anything like that.                8    at the back door. He's trying to go directly out
        9        Q. Which vehicle was he placed into?                9    from the vehicle. And we were trying to push him
       10        A. When he sat down, it was Newman's vehicle.      10    back in, telling him to get in the car. And there
       11            MR. HECHT: If you need to get that.            11    was a brief struggle, and then an attempt to push
       12        A. No. Thank you, though.                          12    him back in, and he just pushed through. I was
       13      BY MR. HECHT:                                        13    trying to do this over the back door (indicating).
       14        Q. Tavares Docher was handcuffed behind his        14    Once he pushed through, I was able to catch his arm
       15    back, correct?                                         15    and try to catch up with him while holding his arm.
       16        A. Yes.                                            16    I don't recall how far we ran. But I know, from
       17        Q. And then who escorted him to Deputy             17    what it felt like to me, when he went forward, I
       18    Newman's vehicle?                                      18    went forward, and like Newman went forward as well.
       19        A. Well, we were still -- there was still          19    And basically all three of us. Because I didn't see
       20    dialogue over in the general vicinity of my vehicle.   20    Robinson went to the ground.
       21    I believe -- I know -- I know that Newman was          21         Q. What direction was Tavares headed once he
       22    walking with him and so was I. I do recall Deputy      22    got out of the vehicle?
       23    Robinson being at the vehicle when we got to the       23         A. Directly towards Prima Vista is what it
       24    back of his vehicle, so I believe it was all three     24    looked like to me.
       25    of us.                                                 25         Q. Is that south?


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        1       A. Yes, sorry. I thought you meant                   1    initially that that would cause a significant amount
        2   street-wise.                                             2    of discomfort or pain trying to do that, but he had
        3       Q. Detective Mangrum, how tall are you?              3    no response that I could see to the handcuff, to him
        4       A. Six-foot-one.                                     4    pushing his arm through the handcuff and bringing it
        5       Q. How much do you weigh?                            5    up further through his elbow.
        6       A. 330, 335.                                         6            During that, while I was trying to hold
        7       Q. Do you recall how tall Tavares Docher was         7    his head down, that's when I noticed now he's very
        8   on May 11th?                                             8    sweaty, and he's -- while my hand is on his head,
        9       A. I don't recall his height. He was -- I            9    which would have been -- I don't know, I know you
       10   don't remember him being taller than me, but he         10    have to -- kind of like palmed over where his ear
       11   wasn't incredibly short either.                         11    and top rear portion of his head, I could feel him
       12       Q. And is it correct to say you, Deputy             12    trying to shake my hand. And his face is on the
       13   Robinson, and Deputy Newman had a difficult time        13    asphalt. And this is having no normal effect.
       14   controlling Tavares Docher when he left the police      14    There is no Ow, my face hurt. And he's grinding his
       15   car?                                                    15    face so I would try to put more pressure to stop his
       16       A. Yes.                                             16    movements. And that's when I noticed him ducking
       17       Q. What happens when Tavares Docher is on the       17    kind of backwards motion in my hands sliding further
       18   ground?
                                                                    18    towards his face, and that's when he was biting at
       19       A. Once he's on the ground, it was --               19    my finger. And that's when I noticed he was trying
       20   initially it was me, from what I remember with me,
                                                                    20    to bite me. And my hand is -- I can't control my
       21   is getting back -- trying to get back to my knees
                                                                    21    hand slipping, and that's when I would just, at one
       22   quickly so he doesn't jump up and run again.
                                                                    22    point I dropped my forearm down to push his face --
                                                                    23    to strike his face away from my hand, and then try
       23   We're -- at this point my biggest concern is, he's
                                                                    24    to regain control -- try to regain control over his
       24   trying to run; I don't know why. His -- because
                                                                    25    head.
       25   again when that -- during that trip to the patrol


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        1    car is -- during that dialogue is when he was more      1        Q. The struggle that you're talking about
        2    about being chased, and people are actively trying      2   involving you three deputies and Tavares, how long
        3    to kill him. And now he's running out of the patrol     3   did that struggle last for prior to Tavares being
        4    car; I don't know why. And his initial flight           4   injected in his buttocks?
        5    direction was towards a busy street. So I'm trying      5        A. I couldn't give you a time, because it's
        6    to get back up, make sure he doesn't try to run         6   -- if I'm just looking at a watch, and it's just --
        7    again, and just kind of -- what I thought would be      7   it's easy to say three or four minutes have passed.
        8    just grab his arms, pick him back -- stand him back     8   When it comes to this nature with the amount of
        9    up and go back to the car and work again on trying      9   thought going through your head and what you're
       10    to calm him down.                                      10   paying attention to, I honestly -- you lose all
       11            Once I was able to get back to my knees        11   perception of time.
       12    and grab more so the left side of his body, and try    12        Q. During the struggle, is it correct that
       13    to, you know, just get control over him, is when I     13   you were applying pressure to Tavares Docher's face?
       14    realized that his behavior, physically his             14        A. The side of his head, yes.
       15    movements, his demeanor and everything, had            15        Q. What were you using to apply pressure to
       16    amplified. So at that point he's become combative.     16   the side of his face?
       17    He's -- I was trying -- I was initially toward the     17        A. The palm of my hand. Basically an
       18    top. He's taking his head in a backward motion like    18   open-palm hand. Almost like a basketball. Just
       19    he's trying to strike. I tried to hold his head        19   basically like an open hand over the side of his
       20    still towards the ground. While I'm trying to hold     20   head.
       21    his head down, I could see that Newman is struggling   21        Q. And you were using your hand to make sure
       22    with his right side, because he's still mostly chest   22   that his head stayed level to the ground, correct?
       23    down, but he's trying to bring his right side of his   23           MS. BARRANCO: Object to the form. Go
       24    body up; that's when I realized the handcuff had       24        ahead.
       25    slipped up his forearm, which registered to me         25        A. Initially what made me make contact with


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        1    his head, he's almost like head striking. He's          1    possible. I had my hand directly down on the side
        2    doing head strikes backwards, which my biggest          2    of his head, with applying forward pressure to keep
        3    concern at that point, yes, if one of us fell           3    his head still. Once he slid his head to where my
        4    forward and hit head-to-head, it would hurt. The        4    hand was in proximity of his mouth, he went to bite,
        5    other, he is hitting his head on the pavement. I'm      5    almost to the point -- his lips actually were on my
        6    trying to hold -- there is nothing to hold it           6    finger, and that's when I basically -- the best way
        7    against to except for the pavement. At least if I'm     7    to explain it would be, just a -- from the back side
        8    holding it still, he's not causing injury to            8    of the forearm is just straight down in a popping,
        9    himself, or trying to bite, or anything like that.      9    striking motion toward his head to push it away from
       10    Once I realized he was biting, that became a great     10    my hand, and then regain control in the same
       11    concern to me as well because I didn't have any        11    position that I had in my hand to start with.
       12    gloves on.                                             12        Q. While you were trying to restrain Tavares
       13      BY MR. HECHT:                                        13    Docher, what was he doing?
       14        Q. When you were applying pressure with your       14        A. The only -- the biggest -- as far as
       15    hand to his face, did he continue to strike his head   15    positioning, all I remember with Deputy Robinson is
       16    on the ground, or were you able to keep his head       16    that he was trying to restrain his legs. That's
       17    level with the ground so he wasn't able to strike      17    when I saw that with Robinson -- when I realized how
       18    his face?                                              18    bad he was kicking and using his legs, and Robinson
       19           MS. BARRANCO: Object to the form.               19    was just trying to control his legs. And when he
       20        A. I was able to hold it -- his head closer        20    would get kicked, at one point I saw him utilize a
       21    to the pavement. But still, no, he was moving his      21    strike for compliance. It looked like it was on his
       22    head in almost like a backwards -- like a              22    thigh for pain compliance for him to get his leg
       23    semicircle. And his face is right there on the         23    under control.
       24    concrete. And he's basically -- to me it looks like    24        Q. And what was Deputy Newman doing during
       25    he was grinding his face in the pavement trying to     25    this time as well?


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        1    get free. I'm trying to hold it still. That's when      1       A. He was on the -- generally the same
        2    my hand -- he started to move hard enough to where      2   position as me, but on the opposite side of the
        3    my hand was sliding towards his face, and that's        3   body. And once I realized he was biting, I noticed
        4    where I saw he was attempting to bite my hand.          4   that Deputy Newman had gloves on, and he took over
        5      BY MR. HECHT:                                         5   control over the head.
        6        Q. And during this struggle you said that you       6       Q. Let me back up a bit. Prior to Tavares
        7    dropped your forearm to strike his face; is that        7   Docher being placed in handcuffs, was there a
        8    correct?                                                8   conversation about whether or not Tavares was on any
        9        A. I struck a --                                    9   illegal drugs?
       10           MS. BARRANCO: Objection to form.                10       A. There wasn't a specific, but the further
       11        A. I apologize. I basically -- holding him         11   we got into talking to him, my concern for more than
       12    from there, when he would go to bite, the only thing   12   alcohol was, I did -- because they're -- obviously
       13    I could do to stop the bite is pull my hand away; it   13   there is alcohol. You could smell it. He admitted
       14    was just basically a drop-down, and then try to        14   to it. But there is -- with his behavior, once it
       15    regain control over his head.                          15   gets to a certain -- there is also -- because
       16      BY MR. HECHT:                                        16   illicit drugs are readily available in St. Lucie
       17        Q. Obviously everything you just said is not       17   County, my concern was during that time, was that if
       18    going to read very well. There is a lot of, I did      18   he was using illegal drugs or abusing prescription
       19    this, and then I did that, and then I did this, and    19   drugs.
       20    then I did a drop-down.                                20       Q. Did you ever ask Tavares, at any point in
       21           What I'd like you to do for the court           21   time, whether he was taking prescription drugs or
       22    reporter, because you reenacted that very well for     22   had taken illegal drugs?
       23    us, tell us specifically what you did once Tavares     23       A. The only time I remember asking him, was
       24    Docher was attempting to bite you.                     24   while we were arguing on ground. At a certain point
       25        A. Okay. I'll explain this as easy as              25   when -- because this -- the struggle was trying to


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        1   get control over him. There wasn't a whole lot of       1   right purpose.
        2   dialogue, except trying to get him to comply, to        2       Q. Is it your testimony today that neither
        3   stop resisting, stop moving, stop being violent.        3   you, Deputy Newman, nor Deputy Robinson utilized
        4   There was a point where there was some was calm,        4   excessive force against Tavares Docher?
        5   that I was trying to ask him, because at that point     5          MS. BARRANCO: Object to the form. Go
        6   I did have a concern about drugs.                       6       ahead.
        7       Q. When you asked Tavares Docher during the         7       A. Is that my -- yes.
        8   struggle whether he was on any sort of illegal drugs    8     BY MR. HECHT:
        9   or prescription drugs, what did he tell you?            9       Q. And is it your testimony here today that
       10       A. He wasn't answering any -- he wasn't            10   none of the force -- none of the force used by
       11   responding or answering to anything verbally to us     11   either you, Deputy Newman, or Deputy Robinson was
       12   at that point. You heard a lot of yelling, but he      12   classified as deadly force?
       13   wasn't responsive at that point to us like he had      13          MS. BARRANCO: Object to the form. Go
       14   been before.                                           14       ahead.
       15       Q. At any point in time during the struggle,       15       A. I did not classify it as deadly force, nor
       16   did you see Deputy Newman apply his thumb to the       16   did I see it as deadly force.
       17   nerve mass in the neck of Tavares Docher to gain       17     BY MR. HECHT:
       18   compliance?                                            18       Q. Was at any point during your entire
       19       A. Did I see that? No.                             19   interaction with Tavares Docher on May 11, 2000 and
       20       Q. Had you had seen that, would you have told      20   -- strike that.
       21   Deputy Newman not to use his thumb and apply           21          Was at any point on May 11, 2014 Tavares
       22   pressure to the nerve mass in Tavares Docher's neck?   22   Docher causing you to believe that he was exhibiting
       23          MS. BARRANCO: Object to the form.               23   a level of force whereby it would be necessary to
       24       A. No, I would not.                                24   justify the use of deadly force against him?
       25     BY MR. HECHT:                                        25          MS. BARRANCO: Object to the form. Go


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        1       Q. Why not?                                         1        ahead.
        2      A. Because I wouldn't see that -- I would not        2        A. Did I see as far as him displaying a need
        3   see anything egregious or unbecoming of a law           3    for deadly force? No.
        4   enforcement officer at that point.                      4      BY MR. HECHT:
        5       Q. Did you see Deputy Newman use an elbow           5        Q. During the struggle, are you aware if
        6   strike to the right side of Tavares Docher's head       6    Tavares Docher was having a difficult time
        7   during the struggle?                                    7    breathing?
        8          MS. BARRANCO: Object to the form.                8        A. His breathing level during the struggle
        9      A. I saw an elbow strike used. I don't               9    was getting -- the more -- the more animated he got,
       10   recall where. I couldn't tell you it was to the        10    and the more he physically struggled against our
       11   right side of the temple or anything like that.        11    efforts to subdue him -- because at this point we're
       12     BY MR. HECHT:                                        12    trying to physically control him.
       13       Q. How many times did you see Deputy Newman        13           Because this went from just -- it went
       14   apply an elbow strike to Tavares Docher's head?        14    from him not making sense, and with the initial
       15      A. The one that I saw -- the elbow strike I         15    detainment, and getting him to the car. It went
       16   saw was after -- immediately after I saw him bite      16    from that interaction to -- to now where it's amped
       17   Deputy Newman's hand.                                  17    up. He's exhibiting violent behavior. He's not
       18       Q. Did you ever tell Deputy Newman not to use      18    making any sense. His breathing increased heavily
       19   an elbow strike to Tavares Docher's head?              19    the more he resisted.
       20      A. No, I did not.                                   20           And our goal was to get him to stop
       21          MS. BARRANCO: Object to the form.               21    resisting us and to calm down so that he could bring
       22     BY MR. HECHT:                                        22    his heart rate and his breathing down. He was never
       23       Q. Why not?                                        23    having difficulty breathing to where his airway was
       24      A. Because I had already used one as well,          24    obstructed because we're on him or anything like
       25   and it was justifiably used, and it was for the        25    that.


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        1        Q. During the struggle, is it correct that          1       Q. But he was not involved in the struggle
        2    you utilize palm heel strikes to large muscle areas,    2   that you, Deputy Newman, and Deputy Robinson were
        3    including the shoulders, chest, and the back of         3   involved in, correct?
        4    Tavares Docher?                                         4       A. I never saw him physically to be involved
        5        A. I believe I used strikes to the large            5   in that at all.
        6    muscle areas, yes.                                      6       Q. Before coming here to give your deposition
        7        Q. And what was the purpose of that?                7   today, what have you reviewed?
        8        A. To defeat the physical efforts from that         8       A. I reviewed my statements.
        9    muscle group, and pain, and compliance.                 9       Q. Were they taped statements?
       10        Q. Is it your testimony here today that the        10       A. I don't know if it was taped or what. But
       11    force that you utilized during this struggle against   11   I reviewed a --
       12    Tavares Docher was necessary and appropriate?          12       Q. Transcript?
       13            MS. BARRANCO: Object to the form. Go           13       A. Transcription.
       14        ahead.                                             14       Q. And do you know when was it you gave those
       15        A. Yes, I do.                                      15   statements?
       16      BY MR. HECHT:                                        16       A. It was on that day later at night.
       17        Q. What involvement did Deputy Courtemanche        17       Q. What else have you reviewed?
       18    have in this case?                                     18       A. That was all I reviewed for this.
       19        A. During the struggle on the ground --            19       Q. Did you see any video recordings of the
       20    because once he took off and we got him to the         20   struggle?
       21    ground, I -- I don't recall who, it could have been    21       A. After the investigation I did, yes. It
       22    me, radioed, We got one running. Basically we're       22   was on -- there was some on social media and I
       23    now turning -- because at that point it's a foot
                                                                    23   believe on the news.
       24    pursuit, and that's all they heard over the radio
                                                                    24       Q. Was that back in 2014 now?
       25    initially, units respond; there was radio
                                                                    25       A. Yes. That would have been back in 2014.


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        1    communication for other deputies and rescue. And        1        Q. Prior to coming here today, you haven't
        2    the first one I remember seeing outside of the three    2    seen any sort of surveillance footage, or cell phone
        3    of us was Deputy Courtemanche.                          3    video of the events we've been talking about today?
        4        Q. At what point did he arrive in relation to       4        A. No.
        5    when the struggle was going on?                         5        Q. Have you reviewed anything else?
        6        A. More to the end of the struggle. Like he         6        A. That's all I reviewed. I guess this is
        7    was still somewhat combative, but it wasn't to the      7    back in 2014, that was when I initially saw the
        8    level that it was prior to. It was more                 8    videos and all of that.
        9    intermittent at that point.                             9        Q. Tavares Docher was never going to be Baker
       10        Q. Did Deputy Courtemanche arrive before the       10    Acted, correct?
       11    paramedics arrived?                                    11            MS. BARRANCO: Object to the form.
       12        A. I believe so, yes.                              12        A. There was a potential for Baker Act.
       13        Q. And was Deputy Courtemanche involved in         13    Because like I said, once we got him in handcuffs,
       14    trying to restrain Tavares Docher?                     14    his -- the criterion, he started exhibiting more
       15        A. No, because at that point I believed it         15    criteria that could meet a Baker Act. At that point
       16    was me that told him to keep -- because at one point   16    it was: What's going to get him the best help? Is
       17    just prior to him physically standing where I could    17    leaving him -- because he's not saying that anybody
       18    see him, I had told some subjects to back away. And    18    is monitoring his, you know, like, Hey, I normally
       19    I just told him to make sure that nobody is close,     19    get care from so and so. And he's at a CVS in this
       20    in a dangerous area for them to be at that point.      20    kind of condition. So we're -- what's the best
       21        Q. So was it Deputy Courtemanche who was           21    route for him to get help and not be a danger to
       22    trying to keep onlookers at bay?                       22    himself?
       23        A. He's the one that kept -- made sure that        23      BY MR. HECHT:
       24    nobody came up, basically. Scene control at that       24        Q. But he was not being Baker Acted, correct?
       25    point you could say.                                   25            MS. BARRANCO: Object to the form.


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        1       A. We never got to that point of making a          1             A Baker Act and an arrest are going to
        2    final determination, as far as I recall.              2     have the same procedure, as far as handcuffing,
        3      BY MR. HECHT:                                       3     placing him in the back of the car. Instead of
        4       Q. You had several options. You could have         4     taking him to the jail, you'll take him to the
        5    just let him go free, correct?                        5     nearest receiving facility.
        6           MS. BARRANCO: Object to the form.              6             We had not been able to fully get enough
        7       A. Could that be done?                             7     information, whether he meets the full criteria for
        8      BY MR. HECHT:                                       8     a law enforcement Baker Act, and if that would be
        9       Q. Yes.                                            9     the best benefit for his well-being as well.
       10       A. Yes. I wouldn't recommend it.                  10       BY MR. HECHT:
       11       Q. I understand. You could have arrived on        11          Q. Okay. Tavares Docher was going to be
       12    scene, talked to him, and then just let him go,      12     taken to the jail, correct?
       13    correct?                                             13             MS. BARRANCO: Object to the form.
       14           MS. BARRANCO: Object to the form.             14          A. I don't know that. As far as -- I can't
       15       A. That would be a huge liability. It could       15     say that for positive, no. I wasn't the initial --
       16    have been done, yes.                                 16     initially he was being placed in Deputy Newman's
       17      BY MR. HECHT:                                      17     car. He would have the final decision. We don't --
       18       Q. I understand. You could have arrested him      18     it's not my place to say, Hey, you should do an
       19    for disorderly intoxication, correct?                19     arrest over Baker Act.
       20       A. Yes, sir.                                      20             We had started to have dialogue about the
       21           MS. BARRANCO: Object to the form.             21     possibility of a Baker Act and whether he met the
       22      BY MR. HECHT:                                      22     criteria during the transition to the patrol
       23       Q. You could have decided to Baker Act him,       23     vehicle. Like I said, before his dialogue changed.
       24    correct?                                             24     He went from just being displaying signs of, you
       25           MS. BARRANCO: Object to the form.             25     know, being intoxicated and just not to the point of


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        1        A. We could have continued to see if he met       1    almost being -- or you could say belligerent, to now
        2    the criteria.                                         2    he's -- you know, now he's talking about being
        3      BY MR. HECHT:                                       3    chased by people, people are trying to kill him, the
        4        Q. Correct? The determination that was made,      4    Arabs. During that continued dialogue that he may
        5    by either you or the officers involved, was to        5    be a threat to himself or others, based on these
        6    arrest him for disorderly intoxication, correct?      6    delusions that he has that he's being threatened.
        7            MS. BARRANCO: Object to the form.             7     BY MR. HECHT:
        8        A. Baker Act and arrest are going to have the     8        Q. When you Baker Act someone, do you take
        9    same end result, as far as handcuffing and in the     9    them to the jail?
       10    back of the patrol car. As far as I remember, that   10       A. To the jail? No.
       11    was not a final -- that was not fully decided at     11        Q. Where do you take them?
       12    that point.                                          12       A. The nearest receiving facility. We have
       13      BY MR. HECHT:                                      13    Port St. Lucie Hospital, which is on Walton Road.
       14        Q. Okay. You told me before that he was          14    We have Lawnwood Pavilion, which we take them to
       15    placed under arrest for disorderly intoxication,     15    Lawnwood emergency room. We have New Horizons,
       16    correct?                                             16    which is our main hub; it is center county.
       17        A. Yes.                                          17        Q. After Tavares Docher was handcuffed behind
       18        Q. And he was placed in the patrol car.          18    his back and arrested for disorderly intoxication,
       19        A. Yes.                                          19    he was not going to any of those facilities,
       20        Q. And he was going to be taken to the jail,     20    correct?
       21    correct?                                             21            MS. BARRANCO: Object to the form.
       22            MS. BARRANCO: Object to the form.            22       A. I couldn't tell you that. We never got to
       23        A. He was placed in handcuffs originally. We     23    fully make that determination.
       24    never got him in the patrol car, locked in the       24     BY MR. HECHT:
       25    patrol car, doors shut.                              25        Q. Do you recall earlier in this deposition,


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        1    you telling me he was going to be taken to the jail?    1   following: Docher was acting intoxicated. Docher
        2           MS. BARRANCO: Object to form. Go ahead.          2   told Newman he had a few drinks while watching the
        3        A. Initially, yes.                                  3   games on television. The drinks went from liquor to
        4     BY MR. HECHT:                                          4   Natty Ice, saying how it's really strong beer.
        5        Q. What do you mean, "initially"? And then          5   Deputy Newman continued telling me Docher was
        6    he was going to go somewhere else?                      6   talking about how the Arabs were trying to kill his
        7        A. No.                                              7   mother and him because they knew where the Arabs
        8        Q. Okay.                                            8   dropped the headless body in St. Lucie County.
        9        A. Once we placed handcuffs on him, there was       9   Deputy Newman also said Docher was able to say who
       10    continued dialogue; that's when he started to          10   and where he was. Therefore, they did not see Baker
       11    display that he may have more faculties involved       11   Act as a means to the end."
       12    with impairment beyond drugs or alcohol. And that's    12          Have you read that statement before?
       13    where we started to look into whether he met the       13       A. Not that I recall.
       14    criteria for a law-enforcement Baker Act.              14       Q. Were you involved with telling Joseph
       15        Q. Well, he was handcuffed behind his back,        15   Trevisol that the Baker Act was not a means to the
       16    correct?                                               16   end?
       17        A. Yes.                                            17          MS. BARRANCO: Object to the form. Go
       18        Q. And at that point he was placed under           18       ahead.
       19    arrest for disorderly intoxication, correct?           19       A. We did not have -- based on getting to the
       20           MS. BARRANCO: Object to the form.               20   car at that point of him sitting his -- his actually
       21        A. Initially, yes.                                 21   sitting in the back of the patrol vehicle, I did not
       22     BY MR. HECHT:                                         22   see fully the criteria for a Baker Act. Had he been
       23        Q. And he was placed in the back of the            23   compliant and sat, and we were able to continue to
       24    patrol vehicle, correct?                               24   talk to him, he may have exhibited the more for
       25        A. No, we never fully got him in the patrol
                                                                    25   criteria for that. But at that point, no. But was


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        1   vehicle.                                                 1    Deputy Newman -- did I know for a fact that Deputy
        2        Q. He never actually got his butt in the car?       2    Newman was leaving to drive to the jail? No, I did
        3        A. He had his butt in, but feet and the door        3    not.
        4   -- the door was never shut. Like I said, at that         4      BY MR. HECHT:
        5   point, the same protocol would have been done for a      5       Q. What I want to know is: Did you speak
        6   Baker Act. And we're talking a misdemeanor arrest.       6    with Joseph Trevisol, who was the reporting officer?
        7   And if it's better for him, and beneficial, and he       7       A. I don't remember specifically speaking to
        8   meets the criteria of a law-enforcement Baker Act,       8    him. There was a lot of people there after the
        9   it's as simple as saying, I'm going to drive to the      9    fact.
       10   jail; I'm going to drive to New Horizons.               10       Q. And according to the narrative written by
       11        Q. I understand. But he was not placed in          11    Joseph Trevisol, he wrote: "Deputy Newman told
       12   handcuffs because he was being Baker Acted. He was      12    Docher to put his hands behind his back. He was
       13   being placed in handcuffs because he was being          13    under arrest for disorderly intoxication due to him
       14   arrested for disorderly intoxication, correct?          14    being intoxicated and causing a disturbance."
       15           MS. BARRANCO: Object to the form.               15          Is that your understanding of why Tavares
       16        A. Initially what I observed, yes, that's          16    Docher was being arrested?
       17   what my thought process was.                            17          MS. BARRANCO: Object to the form.
       18     BY MR. HECHT:                                         18       A. I understood that's why he was being
       19        Q. Have you read this report by Joseph             19    placed in handcuffs, yes.
       20   Trevisol?                                               20      BY MR. HECHT:
       21        A. I may have read it after the investigation      21       Q. He was not placed in handcuffs because he
       22   but not recently or anything of that nature.            22    was being Baker Acted, correct?
       23        Q. According to this report,                       23          MS. BARRANCO: Object to the form.
       24   Joseph Trevisol wrote: "I spoke to Deputies Newman,     24       A. When the handcuffs were placed on him,
       25   Mangrum, and Robinson separately. They told me the      25    from my observations, no.


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        1      BY MR. HECHT:                                        1    rapidness just went to almost nothing. And that's
        2        Q. Did you ever have any conversations with        2    when I couldn't tell -- he's not breathing heavily
        3    paramedic Jose Rosario?                                3    anymore; he's not like exasterbated (sic). That's
        4        A. Specifically, I don't recall. I don't           4    when I pulled him on his side, which is considered
        5    look at name tags. I did have some maybe dialogue      5    the recovery position, to check his breathing and
        6    with paramedics when they showed up. I do recall       6    his pulse. I could still feel his pulse, and still
        7    when Deputy Alanjay arrived on scene, and I            7    hear him breathing lightly and see his stomach
        8    believe -- I'm not 100 percent positive. I believe     8    moving. And he was calm at that point.
        9    it was Deputy Favalet (phonetic) that showed up on     9            And initially I had stepped away when
       10    scene as well. I stood up and walked away -- I        10    rescue got there because he was calm and other
       11    stood up and walked away at that point to assess      11    deputies had taken over. And I was concerned about
       12    myself.                                               12    blood exposure at that point, because during the end
       13        Q. What conversations did you have with any       13    of that I noticed blood on the ground and blood
       14    paramedics?                                           14    on -- what it looked like was on Deputy Newman. So
       15        A. I don't recall specifics. Maybe that --        15    I didn't know who was bleeding, where it came from,
       16    like in a normal circumstance of that nature, I       16    what exposure level it was.
       17    would say he's been combative. And this is -- but,    17            And I stepped back to assess, and that's
       18    like, it was relatively fast them getting on scene.   18    when I -- the last thing I just noticed is that he
       19    And I wanted them -- I didn't have time -- like I     19    almost -- he came back to it seemed like, sat
       20    didn't do a sidebar and explain it to them. Because   20    forward, and I saw a kicking motion. And one of the
       21    at that point is when he had become unresponsive.     21    paramedics go backwards and landed on his butt. And
       22    And my concern was for his medical well-being.        22    that's when there was, like, we can't do treatment
       23        Q. Did you ever tell any of the paramedics        23    with him being physically combative toward us. So
       24    that Tavares Docher had been drinking alcohol?        24    there was a struggle to restrain him again. There
       25        A. I don't remember ever saying that, no.         25    was some struggle to hold him down. And then he


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        1       Q. Did you ever tell any of the paramedics          1    just went somewhat calm again. And then they said
        2   that Tavares Docher was or was not on any prescribed    2    they needed assistance in giving him an injection.
        3   medications or illegal drugs?                           3    I believe they said, I asked them where, like where
        4       A. I don't recall ever saying that.                 4    do they need to have access to him? They said the
        5       Q. Do you remember any of the paramedics            5    thigh or the butt, I believe. We tried to hold him
        6   telling you that they were going to inject Tavares      6    in position where they could safely administer that.
        7   Docher with Ativan?                                     7        Q. Was he struggling during the injection?
        8       A. I don't remember any, like, medical              8        A. There was still some struggle to where we
        9   terminology. But I do, yes, he was getting an           9    had to hold him still.
       10   injection. Because we at that point were going to      10        Q. And was he still handcuffed at the time
       11   help. If that's their medical procedure, then we're    11    that he was given the injection in his buttocks?
       12   going to assist them if he's combative.                12        A. Yes.
       13       Q. Were you involved in the decision to            13        Q. He was handcuffed behind his back?
       14   inject Tavares Docher with any medication?             14        A. Yes.
       15       A. I don't make any of those calls medically,      15        Q. I'm going to show you a video. It's a
       16   no, sir.                                               16    minute long. If you want to come over here.
       17       Q. Who made that call on May 11th to inject        17        A. Yes.
       18   him with the drug?                                     18           (Video played.)
       19       A. That would be on the medical side.              19      BY MR. HECHT:
       20       Q. And do you know why it is they injected         20        Q. So I just showed you a minute and nineteen
       21   him with a medication?                                 21    second video. And I'm going to ask you some
       22       A. I know initially the -- what halted the         22    questions about that.
       23   initial medical assessment of him and treatment was    23           Based upon what you just saw in this
       24   he was -- because the end of it he had started to --   24    video, is it your testimony that Tavares Docher
       25   that's when he became completely unresponsive. His     25    during this minute and nineteen second video was


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        1    resisting arrest?                                     1    applied to Tavares Docher's back, correct?
        2            MS. BARRANCO: Object to the form. Go          2         A. Yes.
        3        ahead.                                            3         Q. And what is that technique known as?
        4        A. During that video there is instances of        4         A. It doesn't have a name.
        5    resisting arrest, yes. Resisting being restrained     5         Q. Why were you placing your foot on Tavares
        6    and controlled.                                       6    Docher's back in this video?
        7      BY MR. HECHT:                                       7         A. When I initially stood up he had -- this
        8        Q. Well, you would agree with me at this          8    is toward the end of the overall. When I stood up,
        9    point he was already under arrest, correct?           9    that's when he had gone somewhat -- he was -- we
       10            MS. BARRANCO: Object to the form. Go         10    noticed some sort of verbal agreeance, okay, okay.
       11        ahead.                                           11    And he had started to slow and stop his efforts to
       12        A. Yeah, he was under arrest at that point,      12    struggle against us, and via strike. And as I'm
       13    whether it be for Baker Act, disorderly              13    standing up, he started again with his legs and his
       14    intoxication. For this it was disorderly             14    upper body. That's when I initially grabbed the arm
       15    intoxication.                                        15    and then transitioned to the handcuffs, because at
       16      BY MR. HECHT:                                      16    this point he's already injured as I can see.
       17        Q. And a disorderly intoxication arrest is a     17            To keep him from causing further injury to
       18    second-degree misdemeanor, correct?                  18    himself, the only thing I could think of to
       19        A. It's a misdemeanor, yes.                      19    improvise at that time was to hold his arms out
       20        Q. Do you take into consideration what one is    20    straight. Now, if I hold his arms out straight
       21    being arrested for when you exert a certain amount   21    without applying any counterforce to keep his body
       22    of force on someone?                                 22    still, he's going to be able to flail about still
       23            MS. BARRANCO: Object to the form. Go         23    and cause injury and damage to his shoulders just
       24        ahead.                                           24    being held with his arms out. So I applied some
       25        A. As far as use of force? No.                   25    pressure -- counterpressure with my foot to keep his


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        1    BY MR. HECHT:                                         1   arms out straight and his body still, so he couldn't
        2      Q. So in this situation it doesn't matter if        2   injure himself any further.
        3   Tavares Docher was arrested for disorderly intox,      3    BY MR. HECHT:
        4   for murder; he would have been treated the same way    4      Q. When you placed pressure on Tavares
        5   as we see him being treated in this video?             5   Docher's back using your foot, as we see in this
        6          MS. BARRANCO: Object to the form. Go            6   video, is that an approved law enforcement maneuver?
        7      ahead.                                              7         MS. BARRANCO: Object to the form. Go
        8          THE COURT: At the point of the video            8      ahead.
        9      you're looking at, he had already committed         9      A. It's approved to manipulate and control
       10      battery on law enforcement, escape, resisting      10   physical resistance.
       11      arrest with violence. We're not talking about      11    BY MR. HECHT:
       12      a misdemeanor-level anymore. Use of force          12      Q. Did you learn that in the police academy
       13      doesn't go based on the nature of the crime, so    13   or during your training at the St. Lucie County
       14      to say, when you're dealing with a one-on-one      14   Sheriff's Office?
       15      with a subject. It goes to the amount of           15         MS. BARRANCO: Object to the form. Go
       16      resistance, and the factors that they're doing,    16      ahead.
       17      and what it takes to control that reasonably.      17      A. That -- in that video with the foot on the
       18    BY MR. HECHT:                                        18   back and the hands out straight, that was improvised
       19      Q. In this video did you see your foot being       19   to gain control over him and prevent him from
       20   applied to what appears to be either Tavares          20   harming himself any further.
       21   Docher's back or neck?                                21    BY MR. HECHT:
       22          MS. BARRANCO: Object to the form.              22      Q. That was an improvised maneuver, correct?
       23      A. His back, yes.                                  23      A. Yes.
       24    BY MR. HECHT:                                        24      Q. That's not something you learned in your
       25      Q. So in this video you saw your foot being        25   training, correct?


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        1            MS. BARRANCO: Object to the form. Go            1    restraint, but we didn't have it readily accessible
        2        ahead.                                              2    at that time where I could have ran and got it.
        3        A. Not that I specifically recall learning.         3        Q. On May 11, 2014 would you have had that
        4    We can't train for every possible form of               4    rope in your vehicle?
        5    resistance. You just got to go with what's safe and     5        A. It would have been in my trunk, yes.
        6    reasonable at that point.                               6        Q. Do you know if Deputy Newman had that in
        7      BY MR. HECHT:                                         7    his trunk on May 11, 2014?
        8        Q. Did you have other reasonable options at         8        A. That would be speculation on my part.
        9    that time, instead of using your foot to apply          9        Q. You just don't know.
       10    pressure to his back?                                  10        A. I don't know.
       11            MS. BARRANCO: Object to the form. Go           11        Q. But you had it in your vehicle.
       12        ahead.                                             12        A. I had one issued, yes, and I kept mine in
       13        A. At that point to see that we were being         13    my trunk.
       14    just as effective, no, I did not.                      14        Q. Why didn't you use it?
       15      BY MR. HECHT:                                        15        A. I didn't have an option to go get it at
       16        Q. At this point in time where we're watching      16    that point. Now, if it was -- you're not going to
       17    this minute and nineteen second video, if you wanted   17    -- if there is a person available free to grab one,
       18    to, would you have just been able to pick Tavares      18    you would utilize it that way. If three people are
       19    Docher off of the ground safely?                       19    involved in the active detaining and controlling
       20            MS. BARRANCO: Object to the form. Go           20    somebody, once the scene is safe, then you would go
       21        ahead.                                             21    get that. At that point it didn't just go to scene
       22        A. No.                                             22    safe and him being calm. It went into immediate
       23      BY MR. HECHT:                                        23    medical attention from that point. And we assumed
       24        Q. I'm sorry?                                      24    and thought with his calmness that it was just a
       25        A. No.                                             25    medical condition at that point and he would be --


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        1        Q. Why not?                                         1    no further physical resistance from him, which it
        2        A. Well, first of all, we have a concern of a       2    was intermittent at that. So our biggest concern
        3    medical nature to him. So if we pick him up off the     3    was medical attention and the hobble, like me
        4    ground, where is he going to go? So, I mean, we         4    leaving far enough to go get my hobble is never an
        5    can't put him in the back of the patrol car and put     5    option to me at that point.
        6    him in further confinement. If we had him contained     6            MR. HECHT: Thank you. I don't have any
        7    on the ground, at that point we had him contained.      7        other questions. Julie, do you have questions?
        8    At that point we are trying to keep him from getting    8            MS. TYK: Yes. No questions.
        9    excessively violent again, or animated. And now my      9            MS. BARRANCO: I actually have one
       10    biggest concern is to keep him from causing any        10        clarifying question.
       11    bodily harm to himself, because he's already struck    11                 CROSS-EXAMINATION
       12    his face on the pavement and showed no response to     12      BY MS. BARRANCO:
       13    pain stimulus that would have been through us or       13        Q. Earlier you were asked about whether you
       14    himself. So that was my concern.                       14    had given, or what you had reviewed in preparation
       15            With pulling his arms out straight and         15    for your deposition. And you referred to reviewing
       16    backwards, I have maneuverability with the handcuffs   16    "statements" in the plural. Do you know if you gave
       17    to at least do joint manipulation, if it comes to      17    a single statement or more than one statement?
       18    that, which it didn't, and have the advantage of       18        A. I apologize, by statements I meant that it
       19    having his upper body somewhat immobilized so he       19    was multiple pages.
       20    can't flail out and cause further injury to himself.   20        Q. Of one statement?
       21        Q. On May 11, 2014, did you have any sort of       21        A. One statement that was given to
       22    leg restraints in your police vehicle?                 22    detectives.
       23        A. I don't recall having -- I don't have any       23        Q. So there should there -- there was only
       24    issued with leg restrains or anything like that. We    24    one?
       25    have issued rope; that's considered a hobble           25        A. When I said plural, I was referring to the


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        1    pages. I apologize.                                             CERTIFICATE OF REPORTER
        2            MS. BARRANCO: That was the only question
        3       I had just to clarify.                            STATE OF FLORIDA
        4            MR. HECHT: Thanks.                           COUNTY OF PALM BEACH
        5            MS. BARRANCO: He'll read the deposition
        6       if it's ordered.                                          I, PATRICIA A. LANOSA, Registered
        7            MR. HECHT: I'm going to order.                 Professional Reporter, do hereby certify that I
        8            MS. BARRANCO: And I'll take a copy.            was authorized to and did stenographically report
        9                                                           the foregoing deposition of CLAY MANGRUM; Pages 1
       10         (The proceedings concluded at 1:53 p.m.)          through 90; that a review of the transcript was
       11                                                           requested; and that the transcript is a true
       12                                                           record of my stenographic notes.
       13                                                                 I FURTHER CERTIFY that I am not a
       14                                                           relative, employee, attorney, or counsel of any
       15                                                           of the parties, nor am I a relative or employee
       16                                                           of any of the parties' attorneys or counsel
       17                                                           connected with the action, nor am I financially
                                                                    interested in the action.
       18
                                                                          Dated this 1st day of June, 2017.
       19
       20
                                                                               ________________________________
       21
                                                                               PATRICIA A. LANOSA, RPR, FPR, CSR
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                    CERTIFICATE OF OATH                         June 1, 2017
                                                                PURDY, JOLLY, GIUFFREDA & BARRANCO, PA
                                                                c/o Clay Mangrum
                                                                2455 East Sunrise Boulevard, Suite 1216
            STATE OF FLORIDA                                    Fort Lauderdale, Florida 33304
                                                                (954)462-3200
            COUNTY OF PALM BEACH                                ATTN: SUMMER BARRANCO, ESQUIRE

                                                                Re: Docher v. Newman et al.
                                                                Case No.: 2:16cv14413
                   I, the undersigned authority, certify        Please take notice that on the 31st day of May,
                                                                2017, you gave your deposition in the above cause.
             that CLAY MANGRUM personally appeared before me    At that time, you did not waive your signature.
             and was duly sworn on the 31st day of May, 2017.   The above-addressed attorney has ordered a copy of
                                                                this transcript and will make arrangements with you
                   Signed this 1st day of June, 2017.           to read their copy. Please execute the Errata
                                                                Sheet, which can be found at the back of the
                                                                transcript, and have it returned to us for
                                                                distribution to all parties.
                     ________________________________
                     PATRICIA A. LANOSA, RPR, FPR, CSR          If you do not read and sign the deposition within
                                                                thirty (30) days, the original, which has already
                     Notary Public, State of Florida            been forwarded to the ordering attorney, may be
                     My Commission No. FF 169350                filed with the Clerk of the Court.
                                                                If you wish to waive your signature now, please sign
                     Expires: 10/19/2018                        your name in the blank at the bottom of this letter
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                    ERRATA SHEET
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               In Re: DOCHER V. NEWMAN ET AL.
                  Case No.: 2:16cv14413
                    CLAY MANGRUM
                     May 31, 2017

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           Under penalties of perjury, I declare that I have
           read the foregoing document and that the facts
           stated in it are true.
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           Date                 CLAY MANGRUM



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